




Opinion of January 24, 2008, Withdrawn, Dismissed and Corrected
Memorandum Opinion filed January 29, 2008








Opinion of
January 24, 2008, Withdrawn, Dismissed and Corrected Memorandum Opinion filed January 29, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00522-CV

____________

&nbsp;

WENTWOOD APPLEWOOD LP, WENTWOOD BAYTOWN LP, 

WENTWOOD CAPITAL FUND I LP, WENTWOOD LAKESIDE I LP,
WENTWOOD ROLLINGBROOK LP, WENTWOOD ROUNDHILL I LP, WENTWOOD ST. JAMES LP, AND
WENTWOOD WOODSIDE LP AS 

THE PROPERTY OWNERS AND THE PROPERTY OWNERS,
Appellants

&nbsp;

V.

&nbsp;

THE APPRAISAL REVIEW BOARD OF 

HARRIS COUNTY APPRAISAL DISTRICT, Appellee

&nbsp;



&nbsp;

On Appeal from the
125th District Court

Harris
County, Texas

Trial Court Cause
No. 2006-35698

&nbsp;



&nbsp;

C O R R E
C T E D&nbsp; M E M O R A N D U M&nbsp; O P I N I O N

This
court withdraws its opinion issued January 24, 2008 because of a typographical
error and issues this corrected opinion in its place.








This is
an appeal from a judgment signed May 23, 2007.&nbsp; On August 2, 2007, this court
ordered the parties to mediation.&nbsp; 

On
November 7, 2007, the court was advised the parties had fully resolved the
issues in the case.&nbsp; Accordingly, the parties had until November 19, 2007, to
file a dispositive motion or a motion for extension of time.

On
December 13, notification was transmitted to all parties of the Court=s intent to dismiss the appeal for
failing to comply with this court=s order of December 13, 2007, which
ordered the parties to file a motion to dismiss, other dispositive motion, or a
motion for an extension of time to file their dispositive motion within ten
days.&nbsp; See Tex. R. App. P.
42.3(c).

The
parties filed no response.&nbsp; Accordingly, the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Judgment rendered and Corrected Memorandum Opinion
filed January 29, 2008.

Panel consists of Justices Fowler, Frost, and Seymore.

&nbsp;





